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                                Case No. 3:21-cv-01895-D

                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
 In re: Highland Capital Management, L.P.,

                   Reorganized Debtor.
 HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS LP, NEXPOINT
 ADVISORS LP, and THE DUGABOY INVESTMENT TRUST,

 Appellants

 v.

 HIGHLAND CAPITAL MANAGEMENT, L.P.

 Appellee

                                On Appeal from the
      United States Bankruptcy Court, Northern District of Texas, Dallas Division
                 Case No. 19-34054-sgj11 (Hon. Stacey G.C. Jernigan)

                  APPELLEE’S MOTION TO DISMISS APPEAL AS
                         CONSTITUTIONALLY MOOT

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        Appellee Highland Capital Management, L.P. (“Highland”) respectfully

moves this Court in accordance with Federal Rule of Bankruptcy Procedure 8013(a)

for an order dismissing this appeal as constitutionally moot. 1 No Appellant possesses

a claim against Highland’s bankruptcy estate that confers constitutional standing to

appeal a bankruptcy court order. No Appellant is an adverse party with sufficient

legal interest to maintain this appeal. This appeal is now moot, presenting no Article

III case or controversy and leaving this Court with no constitutional jurisdiction to

hear this appeal.

                                         Procedural Posture

        On Friday, January 7, 2022, the bankruptcy court entered an order 2 approving

a stipulation disallowing the prepetition general unsecured claims against the estate

held by Appellant NexPoint Advisors, L.P. (“NexPoint”), on which its standing to

appeal was based. Similarly, neither Appellant Highland Capital Management Fund

Advisors LP (“HCMFA”) nor Appellant The Dugaboy Investment Trust


1
  U.S. Bancorp Mortgage Co. v. Bonner Mall P’ship, 513 U.S. 18 (1994).
2
  Bankruptcy Docket No. 3166. This motion cites several documents appearing on the docket of the
bankruptcy case below, In re Highland Capital Management, L.P., Case No. 19-34054-sgj11, U.S.
Bankruptcy Court, Northern District of Texas (the “Bankruptcy Docket”). Appellee respectfully requests
that this Court take judicial notice of the Bankruptcy Docket and its contents, not as an attempt to
supplement the record on appeal but to provide this Court with “information ‘capable of accurate and ready
determination by resort to a source whose accuracy on the matter cannot reasonably be questioned.’” Halo
Wireless, Inc. v. Alenco Communs. Inc. (In re Halo Wireless, Inc.), 684 F.3d 581, 597 (5th Cir. 2012)
(quoting Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457 (5th Cir. 2005)) (noting that “it is within
our discretion to take judicial notice” of proceedings in other courts). “Thus, this court may review evidence
as to subsequent events … which bears upon the issue of mootness.” Manges v. Seattle-First Nat'l Bank (In
re Manges), 29 F.3d 1034, 1041 (5th Cir. 1994) (finding appeal moot).

                                                      1
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(“Dugaboy”) have any prepetition claims against the Highland bankruptcy estate, as

all such claims were consensually expunged or withdrawn. 3 As a result, none of the

Appellants asserts prepetition general unsecured claims against the estate; none of

the Appellants is any longer a “person aggrieved” entitled to prosecute this

bankruptcy appeal under Fifth Circuit precedent. 4

        Because this motion is brought under Bankruptcy Rule 8013(a), Appellant’s

response is due within seven days, and Appellee’s reply is due within seven days

after that, Appellee respectfully requests that the Court consider this motion

simultaneously with oral argument on this appeal and Appellee’s motion to dismiss

the appeal as equitably moot, scheduled for January 25, 2022.

         HCMFA Has No General Unsecured Claims Conferring Standing

        HCMFA filed two prepetition claims in the bankruptcy case below [Claim

Nos. 95, 119]. After Highland objected to these claims, HCMFA agreed to have the




3
  Manges, 29 F.3d at 1041 (5th Cir. 1994):
        Mootness is evaluated by the reviewing court, which may take notice of facts not available
        to the trial court if they go to the heart of the court’s ability to review. See Board of License
        Comm'rs v. Pastore, 469 U.S. 238, 240, 105 S. Ct. 685, 686, 83 L. Ed. 2d 618 (1985)
        (‘When a [post-appeal] development … could have the effect of depriving the Court of
        jurisdiction due to the absence of a continuing case or controversy, that development
        should be called to the attention of the Court without delay.”); … Thus, this court may
        review evidence as to subsequent events not before the courts below which bears upon the
        issue of mootness.
(Emphasis in original).
4
  As discussed below, two Appellants assert an administrative expense claim against the Highland estate,
and NexPoint purports to have acquired a general unsecured claim last week. None of these claims, for the
reasons discussed below, confer appellate standing on any Appellants.

                                                   2
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claims expunged in July 2020. 5 HCMFA’s only current claim is an administrative

expense claim against the Highland bankruptcy estate asserted jointly with NexPoint

(the “Administrative Claim”), which is subject to proceedings currently pending in

the bankruptcy court to disallow the Administrative Claim in its entirety. 6 But even

if the Administrative Claim were allowed, it will be paid in full under Highland’s

confirmed plan of reorganization notwithstanding the existence of the Indemnity

Sub-Trust. 7 Because the outcome of this appeal can have no pecuniary effect on

HCFMA or the Administrative Claim, HCFMA lacks standing to prosecute this

appeal.

         NexPoint Has No General Unsecured Claims Conferring Standing

        Similarly, NexPoint filed two prepetition claims in the bankruptcy case below

[Claim Nos. 104, 108]. After Highland objected to the claims, NexPoint agreed to

have these claims expunged in July 2020. 8 Following the expungement of its

prepetition claims, NexPoint acquired five prepetition claims filed by five former

Highland employees (the “Employee Claims”). 9 It was on the basis of the Employee

Claims that NexPoint objected to the bankruptcy court’s approval of the Indemnity

Sub-Trust and subsequently appealed the bankruptcy court’s order doing so (the

5
  Bankruptcy Docket No. 1155.
6
  A trial on disallowance of the Administrative Claim is set in the bankruptcy court for February 8, 2022.
7
  See Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified) (the
“Plan”), ROA 410 et seq.
8
  Bankruptcy Docket No. 1155.
9
  See Bankruptcy Docket Nos. 2044, 2045, 2046, 2047, and 2266, which are notices of claim transfer.

                                                    3
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“Indemnity Sub-Trust Order”). On January 7, 2022, the bankruptcy court entered

an order approving a stipulation 10 under which NexPoint withdrew all the Employee

Claims with prejudice. 11 As of the entry of that order, every one of the prepetition

claims against the Highland bankruptcy estate that NexPoint possessed when it

commenced this appeal has been withdrawn and disallowed.

         On January 3, 2022, months after it commenced this appeal, NexPoint filed

another notice of claim transfer, purporting to reflect that it had acquired the claim

of Hunter Covitz (the “Covitz Claim”). 12 NexPoint did not possess the Covitz Claim

when it commenced this appeal. Importantly, Mr. Covitz never objected to the

bankruptcy court’s approval of the Indemnity Sub-Trust. As such, the Covitz Claim,

in Mr. Covitz’s hands immediately before NexPoint acquired it, could not confer

standing on Mr. Covitz to appeal the Indemnity Sub-Trust Order. NexPoint’s

subsequent acquisition of the Covitz Claim likewise cannot and does not confer

standing on NexPoint to prosecute this appeal. 13




10
   Bankruptcy Docket No. 3160.
11
   Bankruptcy Docket No. 3166.
12
   Bankruptcy Docket No. 3146.
13
   Moreover, the Covitz Claim, before it was purportedly transferred to NexPoint, was already subject to a
objection pending in the bankruptcy court that would disallow that claim entirely. See Bankruptcy Docket
Nos. 3002, 3147, 3167. Mr. Covitz defaulted in responding to the objection, and Highland, through the
Litigation Sub-Trust, filed a reply informing the bankruptcy court that the Covitz Claim should be
disallowed.

                                                    4
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          NexPoint no longer possesses a prepetition claim against the Highland estate

that can confer standing on NexPoint to prosecute this appeal. (As noted above, the

Administrative Claim cannot confer standing on either NexPoint or HCFMA.)

                        Dugaboy Has No Claims Conferring Standing

          Appellant Dugaboy filed three proofs of claim in the bankruptcy case below:

(a) proof of claim no. 177, filed on April 23, 2020; (b) proof of claim no. 131, filed

on April 8, 2020; and (c) proof of claim no. 113, filed on April 8, 2020 (collectively,

the “Dugaboy Claims”). On October 27, 2021, and November 10, 2021, the

bankruptcy court entered orders approving Dugaboy’s agreement to withdraw all

three claims with prejudice. 14

          Consequently, Dugaboy has no claims against Highland’s bankruptcy estate.

Its only interest in the estate is a pre-bankruptcy 0.1866% limited partnership interest

in Highland, which was canceled under the confirmed Plan. Dugaboy has no

pecuniary interest in Highland or the bankruptcy estate and no pecuniary interest in

the outcome of this appeal. Dugaboy has no standing as an Appellant.

          The following summarizes the Appellants’ asserted claims against Highland’s

estate and their resolution:




14
     Bankruptcy Docket Nos. 2965, 2966, 3007.

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                                          Summary of Appellants’ Claims
Appellant       Claims at Time of Appeal      Disposition                   Result
HCMFA           Claim No. 95                  Expunged                      No standing
                Claim No. 119                 Expunged                      No standing
                Admin Claim                   Pending Objection             No standing; Admin Claim unaffected
                                                                            by appeal
NexPoint        Claim No. 104                 Expunged                      No standing
                Claim No. 108                 Expunged                      No standing
                Employee Claims               Withdrawn / disallowed        No standing
                Admin Claim                   Pending Objection             No standing; Admin Claim unaffected
                                                                            by appeal
                Covitz Claim                  Pending Objection             No standing; Covitz did not object to
                                                                            Indemnity Sub-Trust
Dugaboy         Dugaboy Claims                Withdrawn / disallowed        No standing
                Prepetition LP interest       Canceled                      No standing; contingent equity interest
                                                                            insufficient for standing under 5th
                                                                            Circuit law



            Appellants Lack Standing; Appeal Is Now Constitutionally Moot

           Standing to appeal a bankruptcy court decision is a question of law. 15 The

standard for determining appellate standing in the bankruptcy context is governed

by the “person aggrieved” test, which requires a showing that the appellant was

aggrieved by the order being challenged. 16 “The ‘person aggrieved’ test is an even

more exacting standard than traditional constitutional standing.” 17 In other words,

“Because bankruptcy cases typically affect numerous parties, the ‘person aggrieved’

test demands a higher causal nexus between act and injury ….” 18 Appellants “must


15
   Furlough v. Cage (In re Technicool Sys.), 896 F.3d 382, 385 (5th Cir. 2018).
16
   Id.
17
   Gibbs & Bruns LLP v. Coho Energy, Inc. (In re Coho Energy Inc.), 395 F.3d 198, 202 (5th Cir. 2004).
18
   Id.

                                                         6
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show that [they] were ‘directly and adversely affected pecuniarily by the order of

the bankruptcy court.’” 19 Appellants bear the burden of alleging facts sufficient to

demonstrate that they have standing to appeal. 20 Collectively, the only interests in

the estate that the Appellants have that existed when they began this appeal are the

Administrative Claim (HCMFA and NexPoint) and an extinguished equity interest

(Dugaboy), which are insufficient to confer standing to prosecute this appeal.

          The Fifth Circuit Court of Appeals has strictly limited appellant standing in

bankruptcy cases:

          Bankruptcy courts are not Article III creatures bound by traditional
          standing requirements. But that does not mean disgruntled litigants may
          appeal every bankruptcy court order willy-nilly. Quite the contrary.
          Bankruptcy cases often involve numerous parties with conflicting and
          overlapping interests. Allowing each and every party to appeal each and
          every order would clog up the system and bog down the courts. Given
          the specter of such sclerotic litigation, standing to appeal a bankruptcy
          court order is, of necessity, quite limited. 21

          In Technicool, the debtor’s equity holder, Robert Furlough, opposed the

debtor’s employment of special counsel to pursue litigation. After the bankruptcy

court overruled his objection, Furlough appealed, first to the district court and, when



19
  Id. (quoting In re Fondiller, 707 F.2d 441, 443 (9th Cir. 1983)); see also Dish Network Corp. v. DBSD
N. Am. (In re DBSD N. Am.), 634 F.3d 79, 88-89 (2d Cir. 2010) (“an appellant must be ‘a person aggrieved’
…. An appellant … must show not only ‘injury in fact’ under Article III but also that the injury is ‘direct[]’
and ‘financial’”), quoting Kane v. Johns Manville Corp., 843 F.3d 636, 642 & n.2 (2d. Cir. 1988); see also
Edwards Family P’ship v. Johnson (In re Cmty. Home Fin. Servs.), 990 F.3d 422, 426 (5th Cir. 2021)
(same).
20
     See Rohm & Hass Tex., Inc. v. Ortiz Bros. Insulation, 32 F.3d 205, 208 (5th Cir. 1994).
21
     Technicool, 896 F.3d at 385 (citations omitted).

                                                      7
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he did not prevail there, to the Fifth Circuit Court of Appeals. 22 The Circuit Court

also     affirmed,          explicitly   rejecting   Furlough’s   argument   that   additional

administrative expenses for special counsel would make a recovery on his equity

less likely because it could reduce recoveries by creditors, whose claims had priority

over equity.

        Significantly, the court further held that some theoretical possibility relating

to out-of-the-money equity interest did not accord him standing to appeal: “This

speculative prospect of harm is far from a direct, adverse, pecuniary hit. Furlough

must clear a higher standing hurdle: The order must burden his pocket before he

burdens a docket.” 23 The Fifth Circuit reasoned that the bankruptcy court order that

was the subject of Furlough’s appeal—the appointment of a professional under

Bankruptcy Code § 327(a)—did not directly affect Furlough’s pecuniary interests

despite his out-of-the-money equity interests. In other words, just because Furlough

“feels grieved by [the professional’s] appointment does not make him a ‘person

aggrieved’ for purposes of bankruptcy standing.” 24

        The Fifth Circuit’s reason for adopting the “pecuniary interest” test for

bankruptcy appeals speaks directly to the circumstances under which the Appellants

now before this Court have burdened this Court’s docket:


22
   Id. at 384–85.
23
   Id. (emphasis added).
24
   Id.

                                                     8
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        In bankruptcy litigation, the mishmash of multiple parties and multiple
        claims can render things labyrinthine, to say the least. To dissuade
        umpteen appeals raising umpteen issues, courts impose a stringent-yet-
        prudent standing requirement: Only those directly, adversely, and
        financially impacted by a bankruptcy order may appeal it. 25

        The Fifth Circuit again strongly reiterated this approach just one month ago

in Dean v. Seidel (In re Dean), 26 explaining that the “person aggrieved test … an

even more exacting standard than traditional constitutional standing,” requires “that

the order of the bankruptcy court must directly and adversely affect the appellant

pecuniarily.” 27 The Circuit Court stated simply, “Appellants cannot demonstrate

bankruptcy standing when the court order to which they are objecting does not

directly affect their wallets.” 28

        Here, the Indemnity Sub-Trust, the bankruptcy court order approving it, and

the outcome of this appeal do not and cannot directly affect any of the Appellants’

wallets. No Appellant has a prepetition claim against Highland’s bankruptcy estate

that it held when this appeal began. No Appellant is a beneficiary of the Claimant

Trust on account of any claim it held when this appeal began. Any recovery on

account of the Administrative Claim is entirely unrelated to and unaffected by the

creation of the Indemnity Sub-Trust or the outcome of this appeal because the

25
   Id. at 384 (emphasis added).
26
   No. 21-10468, 2021 U.S. App. LEXIS 36022 (5th Cir. Dec. 7, 2021) (a reported decision that has not yet
been included in the Fed.4th reporter).
27
   2021 U.S. App. LEXIS 36022 at *3, quoting Fortune Nat. Res. Corp. v. United States DOI, 806 F.3d
363, 367 (5th Cir. 2015) (emphasis in original).
28
   Id. at *4.

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Administrative Claim, if allowed, will be paid in full irrespective of the Indemnity

Sub-Trust’s existence. Even Dugaboy’s infinitesimal pre-bankruptcy equity

interests in Highland have been canceled. 29 (And had it not been canceled, it would

still be insufficient to confer standing.) 30 With no pecuniary interest in the

bankruptcy estate, these Appellants lack standing under Fifth Circuit law. Even a

reversal of the bankruptcy court’s order approving the Indemnity Sub-Trust would

not “put any money in [Appellants’] pocket,” as required by the Fifth Circuit. 31

            NexPoint’s Newly-Acquired Claim Does Not Confer Standing

        NexPoint’s last-minute acquisition of the Covitz Claim is the only prepetition

claim any of the Appellants even purports to own at this point. The Covitz Claim

does not confer appellate standing on NexPoint for at least two reasons: (1) because

appellate standing is evaluated when an appeal is commenced, the withdrawal of all

claims providing appellate standing at that time is fatal to an appellant’s standing

and the subsequent acquisition of a claim is not a cure; and (2) Mr. Covitz’s failure

to oppose the Indemnity Sub-Trust Order deprived him of appellate standing,

imputing a lack of standing to NexPoint, because NexPoint’s acquisition of the

29
   Among more than a dozen appeals Dondero and his entities are currently prosecuting from this one
bankruptcy case alone is an appeal of the bankruptcy court’s confirmation of the Plan. It is, of course,
theoretically possible that the appeal is upheld, technically reinstating pre-bankruptcy equity interests in
Highland. But even if so, there is no nexus between the formation of the Indemnity Sub-Trust and
Dugaboy’s miniscule limited partnership interests because all creditors would have to be paid in full with
interest before such equity interests would ever be entitled to a recovery. See 11 U.S.C. §1129(b)(2)(C)
(frequently referred to as the “absolute priority rule”).
30
   See n.23 above.
31
   Technicool, 896 F.3d at 386.

                                                    10
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Covitz Claim gives NexPoint no more rights than Mr. Covitz possessed before the

transfer.

        In Technicool, the Fifth Circuit Court of Appeals held that standing is

determined as of the commencement of the appeal, denying standing to a debtor who

had acquired a claim only after the bankruptcy court had entered the order being

appealed:

        Furlough asserts he has standing because he is now a creditor. But this
        argument proves too little, too late. Now matters not. Standing is
        ‘determined as of the commencement of the suit.’ And Furlough was
        not a creditor at the time the Trustee sought to employ SBPC or at the
        time the bankruptcy court held a hearing on his objection. He
        purchased a proof of claim while his appeal was pending before the
        district court. Timing matters, though, and Furlough cannot belat-
        edly claim creditor status and establish standing retroactively. 32

        Like Furlough in Technicool, NexPoint’s standing must be determined as of

August 4, 2021, when NexPoint commenced this appeal. 33 As stated above,

NexPoint only possessed the Employee Claims on that date—it did not own the

Covitz Claim. Standing was established on that date based solely on those Employee

Claims. Those claims have now been withdrawn and NexPoint has lost its standing.

In rejecting the debtor’s standing, the Fifth Circuit in Technicool ruled that “timing

matters,” and the appellant’s post-appeal acquisition of a claim was “too little too



32
 Technicool, 896 F.3d at 386 (bold emphasis added; italic emphasis in original).
33
 See Arizonans for Official English v. Arizona, 520 U.S. 43, 68 n.22 (1997) (quoting United States Parole
Comm’n v. Geraghty, 445 U.S. 388, 397 (1980)).

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late.” 34 Similarly, NexPoint’s attempt to remedy its lack of standing by purchasing

the Covitz Claim last week (a full five months after commencing this appeal on

August 4, 2021) must also fail. NexPoint “cannot belatedly claim creditor status and

establish standing retroactively.” 35

        “One principle of prudential standing requires ‘that a plaintiff generally must

assert his own legal rights and interests, and cannot rest his claim to relief on the

legal rights or interests of third parties.’” 36 NexPoint’s acquisition of the Covitz

Claim is ineffective to provide NexPoint with standing for another reason. When

NexPoint acquired the Covitz Claim, it acquired a claim with all its defects, defenses,

and limitations. As this Court has held, “a valid and unqualified assignment operates

to transfer to the assignee no greater right or interest than was possessed by the

assignor.” 37 Stated differently in this District, “the purchaser [of a claim] also takes

the claim cum onere … ‘The purchase of the claims in a bankruptcy proceeding



34
   Id.
35
   Id. Appellee expects Appellants to argue that Technicool is distinguishable because, in that case, the
debtor did not have standing when the appeal commenced, whereas here NexPoint arguably had standing
at the time it appealed and that, by acquiring the Covitz Claim before withdrawing the Employee Claims,
its standing is preserved. Such an argument misses the point. Because the basis on which standing to appeal
was established no longer exists, a post-appellate event cannot act as a retroactive cure. Any other rule
would encourage mischief with parties acquiring claims during the appellate process where events unfold
post-appeal undermining the original basis for standing. An appellate court’s continuing constitutional
jurisdiction is too important to be made susceptible to this type of gamesmanship.
36
   Superior MRI Services, Inc. v. Alliance Healthcare Services, Inc., 778 F.3d 502, 504 (5th Cir. 2015)
(quoting United States v. Johnson, 632 F.3d 912, 919–20 (5th Cir. 2011)).
37
   United States v. Cherry Street Partners, L.P. (In re Alliance Health of Fort Worth, Inc.), 240 B.R. 699,
704 (N.D. Tex. 1999) (emphasis added) (reversing bankruptcy court order that conferred greater rights on
claim assignee that that possessed by claim assignor).

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should not grant a transferee any greater rights than the transferor had … [T]he

transferees must also assume the obligations, risks and liabilities attached to the

claims.’” 38 Here, Mr. Covitz did not file an opposition to the Indemnity Sub-Trust,

did not appear at the bankruptcy court hearing to approve the Indemnity Sub-Trust,

and did not appeal the bankruptcy court’s order approving the Indemnity Sub-Trust.

Accordingly, Mr. Covitz had no right to appeal. Because NexPoint has “no greater

right or interest than was possessed by” Mr. Covitz, the Covitz Claim cannot provide

NexPoint with standing to prosecute this appeal.

                            This Appeal Is Constitutionally Moot

        This appeal has been rendered moot—non-justiciable under the “Cases and

Controversies” Clause of Article III of the U.S. Constitution—because Appellants

have lost their standing during the pendency of this appeal. The U.S. Supreme Court

has described mootness as “the doctrine of standing set in a time frame: The requisite

personal interest that must exist at the commencement of litigation (standing) must

continue throughout its existence (mootness).” 39



38
   In re Mirant Corp., 348 B.R. 725, 734 (Bankr. N.D. Tex. 2006) (quoting and citing Enron Corp. v. Ave.
Special Situations Fund II, LP (In re Enron Corp.), 333 B.R. 205, 224 (S.D.N.Y. 2005), and Enron Corp.
v. Ave. Special Situations Fund II, LP (In re Enron Corp.), 340 B.R. 180, 199 (Bankr. S.D.N.Y. 2006)). See
also Zardinovsky v. Arctic Glacier Income Fund (In re Arctic Glacier Int’l Inc.), 901 F.3d 162, 168 (3d Cir.
2018) (“As our Court had explained, a claim in bankruptcy may be transferred. In re KB Toys Inc., 736
F.3d 247, 249 (3d Cir. 2013). When it is, the transferee assumes the same limitations as the transferor. Id.
at 251-52. Otherwise, buyers could revive disallowed claims, laundering them to receive better treatment
in new hands. Id. at 252”). “Cum onere” means “with the burden; subject to an encumbrance or charge.”
Black’s Law Dictionary (6th ed. 1990) at 380.
39
   Arizonans for Official English, 520 U.S. at 68 n.22 (quoting Geraghty, 445 U.S. at 397).

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        The Fifth Circuit Court of Appeals, in addressing a bankruptcy appeal in

which the appellant lost standing after the appeal began, held thus: “A controversy

is mooted when there are no longer adverse parties with sufficient legal interests to

maintain the litigation.” 40 A mooted appeal must be dismissed because a “moot case

presents no Article III case or controversy, and a court has no constitutional

jurisdiction to resolve the issues it presents.” 41

        As all of Appellants’ general unsecured claims possessed at the time this

appeal began have been withdrawn with prejudice, Appellants lost whatever

standing they had when they commenced this appeal. This appeal, in the words of

Goldin, no longer has an appellant with sufficient legal interest to maintain it.

                                              Conclusion

        The Court should dismiss this appeal as moot.




40
   Goldin v. Bartholow, 166 F.3d 710, 717 (5th Cir. 1999), citing Chevron, U.S.A. v. Traillour Oil Co., 987
F.2d 1138, 1153 (5th Cir. 1993).
41
   Goldin, 166 F.3d at 717–18, citing Hogan v. Mississippi University for Women, 646 F.2d 1116, 1117 n.1
(5th Cir. 1981). Mootness in this sense is distinct from the concept of “equitable mootness,” which usually
pertains to appeals of orders confirming a fully-consummated plan of reorganization. Constitutional
mootness is a matter of Article III jurisdiction, whereas “equitable mootness” addresses the concern that an
appellate court with jurisdiction can only render relief that could inequitably harm third parties not before
the court. See, e.g., Manges, 29 F.3d at 1039 (comparing constitutional mootness with equitable mootness).

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                CERTIFICATE OF COMPLIANCE WITH RULE 8013

        The undersigned hereby certifies that this Motion complies with the type-

volume limitation set by Rule 8013(f)(3) of the Federal Rules of Bankruptcy

Procedure. This Motion contains 4,048 words.

                                               /s/ Zachery Z. Annable
                                               Zachery Z. Annable




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                            CERTIFICATE OF SERVICE

        I hereby certify that, on January 10, 2022, a true and correct copy of the

foregoing Motion was served electronically upon all parties registered to receive

electronic notice in this case via the Court’s CM/ECF system.


                                          /s/ Zachery Z. Annable
                                          Zachery Z. Annable




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